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13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16

17   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 25-cv-1766
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
18   M.H., CECILIA DANIELA GONZÁLEZ                  DECLARATION OF E.R. IN SUPPORT OF
     HERRERA, ALBA CECILIA PURICA                    ADMINISTRATIVE MOTION TO
19   HERNÁNDEZ, E.R., and HENDRINA VIVAS             PROCEED UNDER PSEUDONYM
     CASTILLO,
20
                 Plaintiffs,
21          vs.
22   KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security, UNITED
23   STATES DEPARTMENT OF HOMELAND
     SECURITY, and UNITED STATES OF
24   AMERICA,
25                 Defendants.

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 1                                    DECLARATION OF E.R.
 2         I, E.R., declare:
 3         1.       I have personal knowledge of the facts set forth in this declaration. If called
 4 upon to testify as a witness, I could do so and would testify to these facts.
 5         2.       I am a citizen of Venezuela living in the United States with Temporary
 6 Protected Status (TPS). I live with my twelve-year-old daughter, who also has TPS. We
 7 arrived in the United States in May 2023, and registered for TPS under the 2023 TPS
 8 designation of Venezuela. As a result of the decision by the Department of Homeland
 9 Security to terminate TPS for Venezuela, my employment authorization is set to expire on
10 April 2, 2025, and TPS for my daughter and myself will expire on April 7, 2025. TPS is
11 our only form of immigration protection, and is the only source for my employment
12 authorization.
13         3.       I am also a member of the National TPS Alliance (NTPSA). I joined
14 voluntarily, because I agree with the NTPSA’s mission of defending the TPS program.
15         4.       I am submitting this declaration to describe the harm my daughter and I have
16 suffered since the announcement of the rescission of the TPS extension for Venezuela and
17 the harm we will suffer if the protection is terminated in April.
18                                            Background
19         5.       I was born and raised in Maracay, Venezuela. I graduated college in 2013
20 with a degree in administration. My daughter was born in 2012 and, after graduating, I
21 raised my daughter while working for a company that made baby products and later a
22 company that sold lottery tickets.
23         6.       I became an adult during a tumultuous time in Venezuela. I did not support
24 the Maduro regime and I participated in protests against his regime. Around the time I
25 graduated, I was the victim of a brutal robbery in front of my home. I was with a friend
26 who had a car and the robbers beat us up, took my friend’s car, and threatened us. A few
27 days later graffiti appeared next to my home, warning that things would get worse if we
28 didn’t stop protesting the government. I didn’t feel safe staying in my home and I moved

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 1 to live with my grandmother after that.
 2         7.     In approximately 2015 I went back to school to complete a masters degree in
 3 administration. Unfortunately, I was unable to complete my degree as the political and
 4 economic situation in Venezuela worsened. There were constant protests; public transit
 5 was regularly shut down, making it difficult to get to class; and it became increasingly
 6 unsafe to be out in public.
 7         8.     I struggled to find employment, though I applied to many jobs for which I
 8 was qualified. I felt that I may have been blacklisted for not supporting the Maduro regime
 9 and for participating in protests. I did my best to care for myself and my daughter by
10 selling food and other essential goods informally here and there, but survival was always a
11 struggle.
12         9.     As the situation continued to worsen in Venezuela and it became
13 increasingly difficult to survive and provide for my growing daughter, we fled Venezuela.
14         10.    In 2023, we presented ourselves to border officials to seek asylum in the
15 United States. After a few days we were released with an ICE check-in date, and travelled
16 to New York, where we have lived ever since.
17                                        Impact of TPS
18         11.    In the fall of 2023, I learned that Venezuela had been designated for TPS. I
19 applied as soon as I could for myself and my daughter, and we were approved in early
20 2024.
21         12.    I had an immigration court case, but at my first hearing in June 2024, the
22 judge dismissed the case because I had been granted TPS.
23         13.    With my TPS work authorization, I was able to get a steady job at a local
24 factory that makes makeup cases. I bought a car to be able to get to work and take my
25 daughter to school. I work the night shift which allows me to take my daughter to school
26 and pick her up afterwards.
27         14.    I have paid my taxes each year that I’ve worked in the United States. My
28 TPS and work authorization allow me to provide for my daughter and not have to rely on
                                                                                                 2
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 1 assistance or be destitute.
 2                        Harm of TPS Extension Rescission and Termination
 3         15.    It makes me very anxious just to think about the possibility that our TPS will
 4 end in April. I was so relieved in January when I learned that TPS had been extended for
 5 another 18 months. While I know that TPS is temporary, I understood that Venezuela was
 6 granted TPS because of the horrible conditions in Venezuela, and I thought that, so long as
 7 the conditions did not improve, TPS would continue to be available. The conditions in
 8 Venezuela have not improved, so it doesn’t make any sense to me that TPS for Venezuela
 9 has been terminated.
10         16.    When we heard the announcement that the government was reversing the
11 extension decision, I was devastated. If I lose my protection through TPS, how would I
12 work? How would I live? How would I cover my daughter’s basic needs? I feel torn
13 between a rock and a hard place.
14         17.    I am raising my daughter alone. My daughter’s father left us last year. He
15 mistreated us and caused us psychological harm. He has not supported me or our daughter
16 since that time, making my income the sole source of support for me and my daughter. If I
17 lost my work authorization, we would quickly lose our housing. I don’t know where we
18 would live or how we would eat.
19         18.    I have my next ICE check-in in June 2025 and I am afraid that I will be
20 detained at that time, if TPS is not extended. I don’t want to go to the check-in alone
21 because I’m afraid they could deport me, leaving my daughter all alone. I am the sole
22 caretaker for my daughter and she relies on me for everything. I fear what would happen to
23 her. I don’t have anyone here that I can rely on.
24         19.    All of this has left my daughter very sad and discouraged. She is enrolled in
25 seventh grade here and was finally settling in. She has been through so much upheaval and
26 trauma to get here. Though she has struggled with learning a new language and new
27 culture, she now speaks English well and has begun to adjust to her school, making friends
28 and joining afterschool clubs. She dreams of being an artist when she grows up. She
                                                                                                  3
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 1 worries now she will lose all the progress that she has made. At school, rumors spread
 2 about how the Venezuelans are going to get deported. She feels isolated and anxious. She
 3 is afraid every time she hears about a raid or an ICE arrest, that they will come for us next.
 4 She cries and asks me what will happen to her if I am deported. She is afraid to leave the
 5 house.
 6          20.    I don’t know how we would survive here, under the constant threat of
 7 deportation, without TPS. But thinking about going back to Venezuela also feels
 8 impossible. Things have only gotten worse since we left. I fear for my life and especially
 9 for my daughter’s life. I worry we would face retaliation for not supporting the Maduro
10 regime. Having to go back to Venezuela now would rob my daughter of her future. In
11 Venezuela, the public schools are basically dysfunctional. The teachers are always on
12 strike so class is constantly cancelled. The private schools are extremely expensive.
13          21.    My daughter’s Venezuelan passport is expired and I understand there is no
14 way to renew the passport in the United States right now. I believe this could make it
15 difficult to return, even if we tried.
16          22.    I also worry about being able to access my necessary medical care in
17 Venezuela. A few months ago, I had an accident. My hair got caught in a machine while it
18 was on. The injury was very serious. I had to get 20 staples in my head. I wasn’t able to
19 stay in the hospital more than a day because I did not have health insurance and could not
20 afford the care. I have had chronic pain whenever I move my head ever since, and I receive
21 physical therapy twice a week to help manage the pain. I also take prescription painkillers
22 to help manage my symptoms. There is a surgery I need to reduce the pain, but I cannot
23 currently afford it. I hope to be able to save money and get the surgery with a payment
24 plan. In Venezuela, I would not have access to my medication, my physical therapy, or the
25 surgery I need.
26          23.    I am a hardworking and law-abiding person. The conditions in Venezuela
27 forced my daughter and me to leave. All I want to do is to take care of my daughter and
28 contribute to my community. It hurts me to see that the government treats us like we are an
                                                                                                 4
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 1 evil plague brought to the country. I think it’s right to challenge this idea that all
 2 Venezuelans are criminals. I believe those of us who are working hard and have never had
 3 any problems should be allowed to continue to receive TPS protections.
 4                                       Need for Anonymity
 5         24.     I am fearful that my participation in this lawsuit will put my family and me
 6 at risk of retaliation from the United States and Venezuelan governments.
 7         25.     I am afraid that I will be targeted for speaking out about my experience and
 8 for supporting this lawsuit challenging the U.S. government. I fear being prioritized for
 9 immigration enforcement, since in a matter of weeks, my daughter and I will lose our TPS,
10 which is our only form of protection, we have an ICE check in soon after, and government
11 officials have made many comments about going after Venezuelans.
12         26.     I am also afraid that if my name is made public in relation to this lawsuit,
13 that people would see it in Venezuela, and then if I am forced to go back to Venezuela it
14 would put me at higher risk. I would have a target on my back because of my public
15 participation in this lawsuit, both by the Venezuelan government for publicly expressing
16 my opposition to the Maduro regime, and by criminals who believe anyone coming from
17 the United States has money.
18         27.     I want to be able to fully participate in this lawsuit in order to stand up for
19 myself, my daughter and others like us who need these protections.
20         28.     For all of these reasons, I wish to be allowed to proceed anonymously.
21         29.     I declare under penalty of perjury that the foregoing is true and correct, and
22 that this declaration was executed in New York, on February 19, 2025.
23
24                                               /s/ E.R.
25                                              E.R.
26
27
28
                                                                                                     5
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 1                          CIVIL LOCAL RULE 5.1 ATTESTATION
 2         I hereby attest that I have on file all holographic signatures corresponding to any signatures

 3 indicated by a conformed signature (/S/) within this e-filed document.
 4
 5                                                /s/ Emilou MacLean
 6                                               Emilou MacLean
 7
 8
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      City of New York, State of New York, County of New York




      I, Jacqueline Yorke, hereby certify that the document “DECLARATION OF E.R.” is, to
      the best of my knowledge and belief, a true and accurate translation from English into
      Spanish (LA).




      ______________________
      Jacqueline Yorke



      Sworn to before me this
      February 19, 2025



      _____________________
      Signature, Notary Public




      ___________________
      Stamp, Notary Public




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     vivir con mi abuela después de eso.
 1
            7.     Aproximadamente en 2015 volví a la escuela para completar una maestría en
 2
     administración. Desafortunadamente, no pude completar mi título ya que la situación
 3
     política y económica en Venezuela empeoró. Había protestas constantes; el transporte
 4
     público se cerraba regularmente, lo que dificultaba llegar a clase; y cada vez era más
 5
     inseguro salir en público.
 6
            8.     Luché por encontrar empleo, aunque solicité muchos trabajos para los que
 7
     estaba cualificado. Sentí que podría haber sido incluido en una lista negra por no apoyar al
 8
     régimen de Maduro y por participar en protestas. Hice todo lo posible por cuidar de mí y
 9
     de mi hija vendiendo comida y otros bienes esenciales de manera informal aquí y allá, pero
10
     sobrevivir siempre fue una lucha.
11
            9.     A medida que la situación en Venezuela seguía empeorando y se hacía cada
12
     vez más difícil sobrevivir y mantener a mi pequeña hija, huimos de Venezuela.
13
            10.    En 2023, nos presentamos ante los funcionarios fronterizos para solicitar
14
     asilo en Estados Unidos. Después de unos días, nos liberaron con una fecha de registro en
15
     el ICE y viajamos a Nueva York, donde hemos vivido desde entonces.
16
                                           Impacto del TPS
17
            11.    En otoño de 2023, me enteré de que Venezuela había sido designada para el
18
     TPS. Solicité lo antes posible para mí y para mi hija, y nos aprobaron a principios de 2024.
19
            12.    Tuve un caso en el tribunal de inmigración, pero en mi primera audiencia en
20
     junio de 2024, el juez desestimó el caso porque me habían concedido el TPS.
21
            13.    Con mi autorización de trabajo del TPS, pude conseguir un trabajo estable en
22
     una fábrica local que fabrica estuches de maquillaje. Compré un coche para poder ir a
23
     trabajar y llevar a mi hija al colegio. Trabajo en el turno de noche, lo que me permite llevar
24
     a mi hija al colegio y recogerla después.
25
            14.    He remunerado mis impuestos cada año que he trabajado en los Estados
26
     Unidos. Mi TPS y mi autorización de trabajo me permiten mantener a mi hija y no tener
27
     que depender de la asistencia o estar en la indigencia.
28
                       Daño de la rescisión y terminación de la extensión del TPS
                                                                                                 2
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            15.    Me pongo muy nerviosa solo de pensar en la posibilidad de que nuestro TPS
 1
     termine en abril. Me sentí muy aliviada en enero cuando me enteré de que el TPS se había
 2
     prorrogado por otros 18 meses. Aunque sé que el TPS es temporal, entendí que a
 3
     Venezuela se le concedió el TPS debido a las horribles condiciones en Venezuela, y pensé
 4
     que, mientras las condiciones no mejoraran, el TPS seguiría estando disponible. Las
 5
     condiciones en Venezuela no han mejorado, por lo que no tiene ningún sentido para mí que
 6
     el TPS para Venezuela haya sido cancelado.
 7
            16.    Cuando nos enteramos del anuncio de que el gobierno estaba revocando la
 8
     decisión de prórroga, me quedé devastada. Si pierdo mi protección a través del TPS,
 9
     ¿cómo trabajaré? ¿Cómo viviré? ¿Cómo cubriré las necesidades básicas de mi hija? Me
10
     siento entre la espada y la pared.
11
            17.    Estoy criando a mi hija sola. El padre de mi hija nos dejó el año pasado. Nos
12
     maltrató y nos causó daño psicológico. No nos ha mantenido a mi hija ni a mí desde
13
     entonces, por lo que mis ingresos son la única fuente de sustento para nosotras. Si perdiera
14
     mi autorización de trabajo, perderíamos rápidamente nuestra vivienda. No sé dónde
15
     viviríamos ni cómo comeríamos.
16
            18.    Tengo mi próxima cita con ICE en junio de 2025 y me temo que me
17
     detendrán en ese momento, si no se prorroga el TPS. No quiero ir solo a la cita porque
18
     tengo miedo de que me deporten, dejando a mi hija sola. Soy la única que cuida de mi hija
19
     y ella depende de mí para todo. Temo lo que le pueda pasar. No tengo a nadie aquí en
20
     quien pueda confiar.
21
            19.    Todo esto ha dejado a mi hija muy triste y desanimada. Está matriculada en
22
     séptimo grado aquí y por fin se estaba adaptando. Ha pasado por tantos trastornos y
23
     traumas para llegar hasta aquí. Aunque le ha costado aprender un nuevo idioma y una
24
     nueva cultura, ahora habla bien inglés y ha empezado a adaptarse a su escuela, haciendo
25
     amigos y uniéndose a clubes extraescolares. Sueña con ser artista cuando sea mayor. Le
26
     preocupa que ahora vaya a perder todos los progresos que ha hecho. En la escuela, se
27
     extienden rumores sobre cómo van a deportar a los venezolanos. Se siente aislada y
28
     ansiosa. Tiene miedo cada vez que oye hablar de una redada o de una detención de ICE, de
                                                                                            3
                                    DECLARACIÓN DE E.R. – CASO N. º
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     que ahora vengan por nosotros. Llora y me pregunta qué pasará con ella si me deportan.
 1
     Tiene miedo de salir de casa.
 2
            20.    No sé cómo sobreviviríamos aquí, bajo la amenaza constante de deportación,
 3
     sin el TPS. Pero pensar en volver a Venezuela también me parece imposible. Las cosas
 4
     solo han empeorado desde que nos fuimos. Temo por mi vida y especialmente por la vida
 5
     de mi hija. Me preocupa que suframos represalias por no apoyar al régimen de Maduro.
 6
     Tener que volver a Venezuela ahora le robaría el futuro a mi hija. En Venezuela, las
 7
     escuelas públicas son básicamente disfuncionales. Los maestros están siempre en huelga,
 8
     por lo que las clases se cancelan constantemente. Las escuelas privadas son
 9
     extremadamente caras.
10
            21.    El pasaporte venezolano de mi hija ha caducado y tengo entendido que no
11
     hay forma de renovarlo en Estados Unidos en este momento. Creo que esto podría
12
     dificultar el regreso, incluso si lo intentáramos.
13
            22.    También me preocupa poder acceder a la atención médica necesaria en
14
     Venezuela. Hace unos meses, tuve un accidente. Mi cabello quedó atrapado en una
15
     máquina mientras estaba encendida. La lesión fue muy grave. Tuve que ponerme 20 grapas
16
     en la cabeza. No pude quedarme en el hospital más de un día porque no tenía seguro
17
     médico y no podía pagar la atención. Desde entonces, tengo dolor crónico cada vez que
18
     muevo la cabeza y recibo fisioterapia dos veces por semana para ayudar a controlar el
19
     dolor. También tomo analgésicos recetados para ayudar a controlar mis síntomas. Necesito
20
     una cirugía para reducir el dolor, pero actualmente no puedo pagarla. Espero poder ahorrar
21
     dinero y someterme a la cirugía con un plan de pago. En Venezuela, no tendría acceso a mi
22
     medicación, a mi fisioterapia ni a la cirugía que necesito.
23
            23.    Soy una persona trabajadora y respetuosa con la ley. Las condiciones en
24
     Venezuela nos obligaron a mi hija y a mí a irnos. Todo lo que quiero hacer es cuidar de mi
25
     hija y hacer una contribución a mi comunidad. Me duele ver que el gobierno nos trata
26
     como si fuéramos una plaga maligna traída al país. Creo que es correcto cuestionar esta
27
     idea de que todos los venezolanos somos criminales. Creo que a aquellos de nosotros que
28
     trabajamos duro y nunca hemos tenido ningún problema se nos debería permitir seguir
                                                                                               4
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